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OFFICE OF INSPECTOR GENERAL

Department of Homeland Security

Washington, DC 20528 / www.oig.dhs.gov
July 13, 2022

The Honorable Gary C. Peters, Chairman

The Honorable Rob Portman, Ranking Member

Committee on Homeland Security and Governmental Affairs
United States Senate

Washington, DC 20510

The Honorable Bennie G. Thompson, Chairman
The Honorable John Katko, Ranking Member
Committee on Homeland Security

U.S. House of Representatives

Washington, DC 20515

Dear Chairman Peters, Ranking Member Portman, Chairman Thompson, and Ranking
Member Katko:

The Inspector General Act provides that an Inspector General shall have timely access to all
Department records and other materials related to Department programs overseen by the
Inspector General. I am writing to offer a briefing regarding ongoing records access issues
that we have been experiencing with the Department of Homeland Security. There are two
specific issues that we would like to address with your respective committees.

First, the Department notified us that many U.S. Secret Service (USSS) text messages, from
January 5 and 6, 2021, were erased as part of a device-replacement program. The USSS
erased those text messages afier OIG requested records of electronic communications from
the USSS, as part of our evaluation of events at the Capitol on January 6. Second, DHS
personnel have repeatedly told OIG inspectors that they were not permitted to provide
records directly to OIG and that such records had to first undergo review by DHS attorneys.
This review led to weeks-long delays in OIG obtaining records and created confusion over
whether all records had been produced.

I will make myself and my staff available at your convenience. Please call me with
questions, or your staff may contact Kristen Fredricks, Chief of Staff, at (202) 981-6000.

Sincerely,

Vv ‘

osepy V. Cuffari,
Inspector General
